
775 N.W.2d 136 (2009)
Farook MANSOUR, Plaintiff-Appellee,
v.
AZ AUTOMOTIVE CORPORATION, f/k/a Aetna Industries, Inc., Defendant-Appellant.
Docket No. 135615. COA No. 277570.
Supreme Court of Michigan.
October 10, 2009.

Order
On order of the Court, the application for leave to appeal the December 4, 2007 order of the Court of Appeals is considered and, it appearing to this Court that the case of Petersen v. Magna Corp. (Docket No. 136542-43) is pending on appeal before this Court and that the decision in that case may resolve an issue raised in the present application for leave to appeal, we ORDER that the application be held in ABEYANCE pending the decision in that case.
